 

 

Case 8:12-cv-03419-PWG Document 1 Filed 11/20/12 Page 1 of 24

lN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

SOUTHERN DIVISION
GLADYS LAMPKINS `*
1720 Corcoran Street, Apt. Tl
Washington, DC 20002 *
Plaintiff *
V_ >Z<
MANOR CARE OF SILVER SPRING "*‘
MD, L.L.C., individually and d/b/a
MANORCARE HEALTH SERVICES - *
SILVER SPRING
333 N. Summit Street °“
Toledo, OH 43604-1531 Civil Action No.:
Sei'\/c~:: Resident Agent ’*‘
The Corporation Tl'ust, Inc.,
351 West Camden Sti'eet *

Baltimore, MD 21201
and

MANORCARE HEALTH SERVICES, L.L.C.

c/0 Corporation Trust Company ‘*‘
1209 Oi'ange Street
Wilmingi‘on, DE 19801 ‘*‘
Sei've: Resident Agent
Tiie Coi'poration Ti`ust, lnc. *
351 West Camden Street
Baltimore, MD 21201 "*'
and ’“

HCR MANORCARE MEDICAL SERVICES ‘*‘
OF FLORIDA, L.L.C., individually and d/b/a
HEARTLAND CARE PARTNERS *
333 N. Summit Street

Toledo, OH 43604-1531 *

 

 

 

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Sei've: Resident Agent *
The Corpoi'ation 'l`i'ust, hic.
351 West Carnden Street ’*‘

Baltimore, MD 21201
and

HCR MANORCARE FOUNDATION, INC

11555 Damestown Road "'°
Gaithersburg, MD 20878
Serve: Resident Agent *
The Coi'poration 'l`rust, lnc.
351 West Camden Street *
Baltimoi'e, MD 21201
>;;
and

MANOR CARE FOUNDATION, lNC.

11555 Dai'nesi'own Road *
Gaithersburg, MD 20878
Serve: Resident Agent ’*‘
The Corporation Trust, lnc.
351 West Camden Sti'eet "*‘

Baltimore, MD 21201
and

HEARTLAND, INC.

c/O The Corporation Trust, lnc. *
351 West Camden Street
Baltirnoi'e, MD 21201 *
Sei've: Resident Agent
The Corporation Ti'ust, lnc. ’*‘
351 W€St Canideii Street
Baltimore, MD 21201 *
and *‘
HCR MANORCARE MARYLAND "‘
PROPERTIES, LLC
7 SL Paul Sti'eet, Suite 1600 1‘

Baltimore, MD 21202

 

 

 

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Sel've: Resident Agent ’*‘
CSC Lawyers Incoi"porating
Service Company =*‘
7 St. Paul Street:, Sui.te 1600
Baltimoi'e, MD 21202 `““
and *
HCR MANORCARE MARYLAND *
PROPERTIES 11, LLC
7 St. Paul Street, Suite 1600 *
Baltimore, MD 21202
Sei've: Resident Agent °“
CSC Lawyers lncorporating
Sei'vice Company ’E‘
7 St. Paul Street, Suite 1600
Baltimore, MD 21202 *
and ’*‘
LINDA l\/l. ALLEN~HOLMES, CNP *
24224 Primula Court
Gaithersburg, MD 20882 "*‘
and *
RAMAN TULI, l\/I.D. *
10810 Dai'nestown Road
Suite 202 “‘

Gaithersburg, MD 20878
and

RAMAN TULI, M.D., P.C.

10810 Darnestown Road ""
Suit<~: 202
Gaithersburg, MD 20878 *

Serve: Resident Agent
Di'. Raman Tuli
7003 Fawn Ti'ail COLn't
Bethesda, MD 20817 ”‘

Defend ants

 

 

 

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COMPLAINT AND ELECTION FOR JURY "I`RIAL

 

The Plaintiff, Gladys Lanapl<ins, by and through her attorneys, Henry E. Dugan, Jr.,
Alison D. Kohler and Dugan, Babij & Tolley, LLC, Sues the De'fendants, Manor Care of Silver
Spring MD, LLC, individually and d/b/a ManorCare Health ServiceS-Silver Spring, Manor
Care Health Services, LLC, HCR ManorCare Medical Services of Florida, LLC, individually
and d/b/a Hcartland Care Partners, l~lCR ManorCare Foiliidatioii, lnc., l\/lanor Care
Foundation, Inc., Heartland, lnc., HCR l\/IanorCare Maryland Pz'operties, LLC, HCR
ManorCare Properties, 11, LLC, Linda M. Allen-Holines, C.N.P., Raman Tuli, M.D, and
Raman 'l`uli, MD, PC., Stating:

1. This matter Was filed With the Health Care Alternatiye Dispute Resolution Of£"ace of
l\/laryland on or about August 1, 2012. A copy of the Stateinent of Clairn is attached hereto as
Exhz.`bil' 1 and prayed to be taken as part hereof".

2. The Plaintiff filed Certi'ficates of Merit and Reports with the Health Care
Alternative Dispnte Resolution Oftice of Maryland, on or about October 9, 2012. A copy of
the Certi["lcates of Merit and Reports are attached hereto as Exhit')il 2 and prayed to be taken as
part hereofl

3. On or about October 9, 2012, the Plaintifi" filed a Notice of Election to Waive
Arbitration, pursuant to Md. Cts. & Jud. Procs. Code Ann. § 3-2A-06A, in the l~Iealth Care
Alternative Dispute Resolution O'Fi'ice of Maryland. A copy of the Notice of Election to Waive

Arbitration is attached hereto as Exhi`bif 3, and prayed to be taken as part thereof

 

 

 

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4. On or about October 1 1, 2012, an Order of Transfer Was issued by the Health Care
Alternative Dispute Resolution Office, transferring this case to the United States District Court
for the District Of Maryland. A copy of` the Order to 'I`ransf`er is attached hereto as Ethbft 4,
and prayed to be taken as part hereof

5. These ciaims Were properly filed in the I~Iealth Care Aiternative Dispute Resolution
Office as they exceed Thirty 'l`housand Dollars ($30,000.00) in da:nages, and Were properly
Waived out to the United States District Court District of l\/laryland pursuant to Md. Cts. &
Jud. Procs. Code Ann. § 3-2A-06A. All conditions precedent to the filing of` these claims have
been met.

6. The Plaintiff relates back to, repeats, re-alleges, adopts and incorporates by
reference the Statement of Clairn filed With the I~lealth Care Alternative Dispute Resolution
Off`ice on or about August 1, 2012.

PARTIES

7. "l.`he Plaintit"f`, Gladys Lanipkins, is an adult citizen of` the District of Columbia
residing at 1729 Corcoran Street, Apt Tl, Washington, .DC 20002.

8. Defendant, l\/Ianor Care of Silver Spring MD, L.L.C., is a Delaware
corporation With its principal place of business at 333 N. Sunnnit Street, Toledo, Of-I
43604-1531. At all relevant tiines, Manor Care of` Siiver Spring I\/ID, L.L.C. owned and
operated the Manor Care long tenn care facility in Silver Spring, Maryland and did
business as Manor Care Health Services - Silver Spring, which has a principal place of
business cf 2501 Musgrove Road, Silver Spring, Maryland 20904. Further, at all

relevant times, Det`endant, Manor Care of Silver Spring l\/ID, L.L.C Was the employer

 

 

 

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and/or the actual and/or apparent principal of the physicians, nurses and other individuals
staffing the faciiity and providing health care services to Gladys Larnpl<ins.

9. Defendant, ManorCare I-Iealth Services, LLC, is a Deiaware corporation with
its principal place of business at 1209 Orange Street, Wilr'nington, DE 19801. At all
relevant tirnes, ManorCare Health Services, LLC was the owner/operator/principal of the
Manor Care rehabilitative and long term care facilities throughout 32 States, including the
Manor Care facility in Silver Spring, l\/laryland and was the employer and/or the actual
and/or apparent principal ofthe physicians, nurses and other individuals staffing the
facility and providing health care services to Gladys Larnpkins..

10. Def`endant, HCR ManorCare ivledical Services o;f`Florida, LLC, is a Florida
corporation with its principal place of business at 333 N. Surnnrit Street, Toledo, Ol-l
43604-1531. At all relevant tirnes, HCR l\/lanorCare l\/fedical Services of Florida, LLC
owned and/cr operated the l\/fanor Care long tenn care facility in Silver Spring, i\/laryland
and did business as Heartland Care Partners, which has a principal place of business of
7361 Calhoun Place, Rocl<vilie, l\/faryland 20855. Fui'ther, at all relevant tirnes, I~ICR
l\/fanorCare Medical Services Of Florida, LLC WaS the employer and/or the actual and/et
apparent principal of the pliysicians, nurses and other individuals staffing the facility and
providing health care services to Gladys Larnpl<ins.

i 1. The Del"endant, HCR ManorCare Foundation, lnc., is a corporation organized
and existing under the laws of the State of l\/faryland with its principal place of business
at 1 1555 Darnestown Road, Gaithersburg, MD 20 878. At all relevant tirnes, HCR

ManorCare Foundation, lnc., owned and/or operated the Manor Care long term care

 

 

 

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facility in Silver Spring, l\/laryland and/or was the employer and/or the actual and/or
apparent principal of the pliysicians, nurses and other individuals staffing the facility and
providing health care services to Gladys Larnpkins.

12. The Defendant, l\/lanor Care Foundation, Inc., is a corporation organized and
existing under the laws of the State of Maryland with its principal place of business at
11555 Darnestown Road, Gaithersburg, i\/fD 20878. At all relevant tirnes, l\/fanorCare
Foundation, lnc., owned and/or operated the l\/fanor Care long term care facility in Siiver
Spring, Maryland and/or was the employer and/or the actual and/or apparent principal o'f`
the physicians, nurses and other individuals staffing the faciiity and providing health care
services to Gladys Lampl<ins.

13. The Defendant, HCR ManorCare Maryland Properties, LLC, is a corporation
organized and existing under the laws of the State of Delaware with its principal place of
business at 7 St. Paul Street, Suite 1660, Baltirnore, l\/faryland 21202. At all relevant
tirnes, HCR ManorCare Maryland Properties, LLC owned and/or operated the Manor
Care long tenn care facility in Silver Spring, l.\/iaryland and/or was the employer and/or
the actual and/or apparent principal of the physicians, nurses and other individuals
staffing the facility and providing health care services to Gladys Lampl<ins.

14. 'flre Def`endant, HCR l\/fanorCare Maryland Properties 11, LLC, is a
corporation organized and existing under the laws of the State of Delaware with its
principal place of business at 7 St. Paul Street, Suite 1660, Baltimore, l\/laryland 21202.
At all relevant times, HCR l\/lanorCare Maryland Properties 11, LLC owned and/or

operated the Maiior Care long term care facility in Silver Spring, l\/laryland and/or was

 

 

 

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the employer and/or the actual and/or apparent principal of the physicians, nurses and
other individuals staffing the facility and providing lreaith care services to Gladys
Lanrpl<ins.

15. Hereinafter in this Cornplaint and Election for Jury Trial, Defendants, Manor
Care of Silver Spring, MD, LLC, l\/Ianorcare Health Services - Silver Spring, l\/fanorcare
l~lealth Services, LLC, l-ICR l\/lanorCare l\/fedical Services of Florida, LLC, Heartland
Care Partners, HCR l\/lanorcare Foundation, lnc., l\/fanor Care Foundation, fnc.,
l-leartland, Inc., HCR l\/fanorcare Maryland l’roperties, LLC and HCR l\/lanorcare
Maryland Properties, 11, LLC will be collectively referred to as Defendant Manor Care of
Silver Spring.

16. At all relevant times, Defendant, Linda l\/f. Allen-l~lolmes, C.N.P., was an
adult citizen of the State of`l\/faryland licensed to provide advanced degree nursing
services in the State of l\/Iaryland, with her principal place of business located at 2501
Musgrove Road, Silver Spring, MD 20904.

17. At all relevant times, Defendant, Raman Tuli, M.D., was an adult citizen of
the State of i\/faryland licensed to provide medical services in the State of l\/faryland, with
his principal place of business located at 10810 Darnestown Road, Suite 202,
Gaithersburg, l\/fD 20878.

18. At all relevant times, Defendant, Raman Tufi, M.D., P.C. was a l\/iaryland
corporation with its principal pface of business in Gaithersburg, l\/laryland and was the

employer and/or principal of Rarnan Tuli, l\/l.D.

 

 

 

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JURISDICTION AND VENUE

19. The amount of this claim exceeds Seventy Five Tlrotlsarrd Dollars
(3`)75,000.00) and jurisdiction is proper pursuant to 28 U.S.C. § 1332 (diversity of
citizenship), in that there is complete diversity of citizenship among the parties and the
amount in controversy in this matter exceeds Seventy-Five Thousand Dollars
($75,000.00). Venue is appropriate in this Honorable Court, pursuant to 28 U.S.C.
§1391(a)(1), (2) and (3), as a place wherein the Defendants have their principal place of
business and/or do business and as the piace where a substantial part of the events or
omissions giving rise to the claim occurred.

FACTS C()MMON TO ALL COUNTS

20. Gladys Larnpkins was admitted to Washington I~lospital Center from July 31,
2009 until August 127 2009. Approxiniately three weeks before admission, l\/fs.
Lampkins had been completely independent in all activities of daily living. About three
weeks before admission, l\/fs. Lampkins had fallen and struck her right leg on the bathtub,
which caused her to rely on a cane or walker for walking and assistance with batlring.

21. On admission to Washington l-Iospital Center, l\/fs. Lampkins was described
as having generalized malaise associated with nausea, vomiting and fevers at home. The
generalized malaise was attributed to a urinary tract infection She was also found to
have iron deficiency anernia.

22. l\/fs. Lampkins was treated with intravenous antibiotics She also received

blood transfusions for her anemia. Following numerous tests and consultations, inpatient

 

 

 

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physical therapy was recommended to improve her strength and allow her to return to
independent living.

23. On August 12, 2009, Ms. Lampkins was transferred to Manor Care of Silver
Spring for physical therapy. During her stay at l\/lanor Care of Silver Spring, Ms.
Larnpkins was attended by Def`endants, Raman Ttrli, M.D., Linda M. Allen~Holmes, CNP
and the nurses, wound care nrrrses, and rehabilitation staff of l\/fanor Care. Ms. Lampkins
remained at l\/lanor Care of Silver Spring from August 12, 2009 until September 26, 2009
except for an Emergency Room visit to l-loly Cross l-lospital on August 27, 2009.

24. When Ms. Lampkins arrived at l\/fanor Care of Silver Spring, she had no skin
breakdown or lesions.

25. On August 14, 2009, Defendant/l-lealth Care Provider, l.inda Allen~lvlolmes,
CNP, noted that Ms. Lampkins had a ruptured vesicle or bulla of the right (anterior)
ankle.

26. On August l7, 2009, the nursing staff reported an open area on l\/fs.
Lampkins’ buttocks to De'f`endant, Linda Allen-f-lolmes, CNP. lvls. Allen~lwlolmes
documented that “skin changes not noted prior to this a.m.,” and diagnosed Ms.
Lanipkins with a left buttock ulcer and right buttock ulcer.

27. On August 17, 2009, i\/ls. Lampkins’ pressure wounds or bed sores were
measured and/or staged as follows:

1. Stage 11 pressure wound on the right ankle measuring 3><3
centimeters (1.8 x l.S inches);

2. Left buttocks pressure wound measuring 5 centimeters
(1.97 inches) x 2 centimeters (0.79 inches);

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3. Right buttocks pressure wound measuring 5 centimeters
(1.97 inches) x 2 centimeters (0.79 inches).

28. l\/fs. Lampkins’ wounds continued to progress and worsen. By the August 24,
2009, wound care rounds, Ms. Lampkins was noted to have a Stage 111 pressure wound
with slough (dead or necrotic tissue) across both buttocks and her coccyx. By September
7, 2009, Ms. Lampkins right ankle pressure wound was described as a Stage lil wound
with slough.

29. By August 24, 2009, the staff at l\/fanor Care of Silver Spring also noted
pressure wounds on the inferior and superior plantar aspects of both feet and both heels.
Ms. Larnpkins’ pressure wounds on her feet continued to worsen such that by September
13, 2009, the right heel wound had both slough and eschar with purulent drainage and the
left heel wound had clear drainage with macerated edges The wounds progressed
without effective treatment being provided.

30. On August 26, 2009, Defendant/Health Care Provider, Nurse Practitioner
Ailen~l-lolmes, noted that there was a deep tissue injury on lvfs. Lampkins left plantar
surface (the bottom or sole of the foot) involving the ball of the foot, arch, and heel area.
She also noted that i\/fs. Lampkins’ left and right buttocks wounds extended into the
coccyx area, and that she “cries out in pain with change in position."

31. h/ls. Lampkins’ wounds continued to Worsen. According to the minimum
data set prepared by Nurse White on September 1, 2009, Ms. Lampkins had three (3)
Stage lil wounds and two (2) Stage IV wounds A Stage lV wound constitutes a full
thickness skin loss with extensive destruction, tissue necrosis, or damage to muscle, bone,

or supporting structures

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32. By Septernber 2, 2009, Nurse Practitioner Allen-Holmes noted that i\/fs.
Lampkins’ “dead tissue has increased, and is now in multiple areas.” She also noted that
l\/ls. Lampkins had a deep tissue injury of the right outer ankle with slough, increased
drainage and pain on exam, as well as an increase in slough in multiple areas of the
coccyx wound Also, on September 2, 2009, the wound care nurse noted that l\/Is.
Lampkins' right and left buttocks wounds extended to the coccyx to become one ulcer.
Furtherniore, l\/ls. Lampkins developed an elevated temperature of 99.6.

33. Notwithstanding the fact that Ms. Lampkins’ wounds continued to worsen
between visits by Defendant Raman Tuii, l\/I.D., who saw l\/fs. Lampkins on August 14,
2009, and then again on Septenrber 4, 2009, Defendant Tuli wrote a note on September 4,
2009 that stated that Ms. Lampkins’ “skin on the ankle healing good, and buttock-cocch
ulcer clean, small necrotic tissue.”

34. Ms. Lampkins’ pressure wounds continued to worsen. By September l5,
2009, the drainage became puruient and foul smelling. The pressure wounds were so
Significant that l\/IS. Lampkins required pre-medication prior to undergoing wound
treatments

35. On September 26, 2009, l\/ls. Lampkins was taken to the l"loiy Cross Hospital
emergency department and admitted to the hospital because of chest pain, shortness of
breath, low grade fever, nausea, vomiting, and some hypoxia. 'l`he chest pain and
shortness of breath resolved

36. On September 28, 2009, l\/ls Larnpkins had consultations by Podiatry and

lnfectious Disease physicians who were both of the opinion that l\/is. Lampkins’ elevated

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white blood cell count was probably due to a foot infection Both found that l\/ls.
Lampkins’ right foot was red almost purple in color to just above the ankle in a patchy
pattern lt was foul smelling, tender, and hot pus could be expressed from the plantar
surface of the foot. She had a non-healing, non-granulating wound on the lateral aspect
of her right ankle. The bottom of her right foot had crackling and foul sinelling, bloody,
purulent drainage She had large black eschar of the right heel wound She had wounds
on the lateral aspect of her right lower leg extending approximately 10 to 12 centimeters
above the level of the ankle with the lateral right leg wound was described as being down
to the level of the fibula.

37. During that admission, l\/fsi Lampkins was assessed as having extensive
gangrene of the right heel and moderate gangrene of the left heel. Because ol" the
extensive gangrene, l\/fs. Lanrpkins underwent above the knee amputations of both legs,
with the right leg being amputated on September 30, 2009, and the left leg being
amputated on October 9, 2009.

COUNT I
(Negligence Against All Defendants)

The Plaintiff`, Gladys Lampkins, repeats, realleges, adopts and incorporates by
reference paragraphs i through 37 of this Compiaint and Election for lury Trial as though
fully set forth herein

38. At all times of which the Plaintiff complains the Defendants Manor Care of
Silver Spring, MD, LLC, Manorcare Health Services - Silver Spring, l\/lanorcare Heaith
Services, LLC, HCR l\/fanorCare Medical Services of Florida, LLC, Heartland Care
Partners, HCR l\/ianorcare Foundation, fnc., l\/ianor Care Foundation, Inc., Heartland,

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lnc., HCR l\/fanorcare Maryland Properties, LLC and HCR l\/lanorcar'e l\/iaryland
Properties, 11, LLC were corporations that, individually and/or by and through their real,
apparent and/or ostensible agents, servants and/or employees owned and/or operated
and/or employed the health care providers who staffed r\/fanor Care of Silver Spring and
represented to the public and the Plaintif`f possession of that degree of skill, knowledge
and ability ordinarily possessed by a reasonably competent medical corporation providing
short-term post-acute services and long-term care services in the fields of medicine,
skilled nursing and rehabilitation

39. At all times of which the l>lainti.ff complains, the Def`endants Raman Tuli,
M.D. and Raman Ttrli, l\/I.D., P.C., individually and/or by and through their reai, apparent
and/or ostensible agents, servants and/or employees, represented to the public and the
P!aintiff possession of that degree of skill, knowledge and ability ordinarily possessed by
reasonably competent medical doctors attending and caring for patients in short-term
post-acute care facilities and long-term care facilities

40. At all times of which the Plair'rtiffcomplains7 the Defendant Linda M.
Allen-Holmes CNP was a nurse practitioner certified by the State of Maryland and
represented to the public and the Plaintiff possession of that degree of skill, knowledge
and ability ordinarily possessed by a reasonably competent certified nurse practitioner
providing nursing care to patients in short-term post-acute care facilities and long-term
care facilities

41. At all relevant times, Defendants l\/fanor Care of Silver Spring, MD, LLC,

Manorcare Health Services - Silver Spring, l\/Ianorcare liealth Services, LLC, l-ICR

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ManorCare Medical Services of Florida, LLC, Heartland Care Partners, HCR l\'ianorcare
Foundation, lnc., l\/lanor Care Foundation, lnc., I~Ieartland, lnc., HCR Manorcare
l\/faryland Properties, LLC and HCR l\/fanorcare l\/faryland Properties, ll, LLC, by and
through their real, apparent and/or ostensible agents, servants and/or employees owed to
their patient, Gladys Lampkins, the duty to exercise that degree of care, skill and
judgment ordinarily expected of reasonably competent nursing, long term care and
rehabilitation facilities in l\/laryland that were delivering wound care and rehabilitative
care to patients under the same or simiiar circumstances as l\/ls. Lampkins. That duty
included the proper interpretation and performance of adequate and appropriate
diagnostic tests and procedures to determine the nature and severity of any medical
conditions suffered by Gladys .Lampkins, the prompt employment of appropriate
procedures and treatments to correct such condition(s); the continuous evaluation of the
course of such treatment(s) in response to such evaluation(s); and the duty of appropriate
notification to Plaintif'f Gladys Lampkins of the various alternatives and risks involved in
the various modalities oftreatment.

42. At all relevant times, Defendants Raman 1`trli, l\/l.D., Raman 'l`uli, l\/I.D.,
P.C., and Linda l\/f. Allen-lrlolmes, CNP, individually and/or by and through their real,
apparent and/or ostensible agents, servants and/or employees, owed to their patient,
Gladys Lampkins, the duty to exercise that degree of care, skill and judgment ordinarily
expected of reasonably competent physicians and advanced trained nurses attending to
patients in nursing, long term care and rehabilitation facilities in l\/faryland. That duty

inciuded the proper interpretation and performance of adequate and appropriate

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diagnostic tests and procedures to determine the nature and severity of any medical
conditions suffered by Gladys Lampkins, the prompt employment of appropriate
procedures and treatments to correct such condition(s)', the continuous evaluation of the
course of such treatment(s) in response to such evaluation(s); and the duty of appropriate
notification to Plaintiff Gladys Lampkins of the various alternatives and risks involved in
the various modalities of treatment

43. At all relevant times Defendants l\/fanor Care of Silver Spring, l\/lD, LLC,
Manorcare Health Services - Silver Spring, l\/fanor'care l-lealth Services LLC, HCR
l\/fanorCare l\/ledical Services of Florida, LLC, Heartland Care Partners, HCR l\/lanorcare
Foundation, lnc., l\/[anor Care Foundation, lnc., lrleartland, Inc., HCR l\/lanorcare
l\/faryland Properties LLC, HCR l\/fanorcare l\/Iaryland Properties, 11, LLC, and Raman
'1`uli, l\/I.D., P.C., were and are responsible for the acts and omissions of their physicians
physician assistants wound care nurses nurses nursing assistants nutritionists and any
and all other employees and staff, under the doctrines of respondeat superior and/or
agency.

44. Defendants, l\/fanor Care of Silver Spring, l\/ID, LLC, l\/fanorcare l-lealth
Services - Silver Spring, l\/fanorcare l~leaith Services LLC, l-ICR l\/lanorCare l\/Iedical
Services of Florida, LLC, lwleartland Care Partners HCR l\/fanorcare Foundation, lrrc.,
Manor Care Foundation, lnc., Heartland, lnc., l~lCR Manorcare l\/Iaryland Properties,
LLC, l-lCR l\/fanorcare Maryland Properties 11, LLC, Raman Tuli, M.D., Raman Tuli,
M.D., P.C. and Linda M. Allen-Holmes CNP, individually and/or by and through their

real, apparent and/or ostensible agents servants and/or employees responsible for the

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management of the care and treatment provided to Gladys Lampkins at l\/lanor Care of
Silver Spring breached the accepted standards of care and were negligent in their care
and treatment of Plaintiff Gladys Lampkins. These breaches of the standard of care
include, but are not limited, to the following:

a. Failing to employ adequate diagnostic procedures and tests to
determine the nature and severity of the conditions of the Plaintiff;

b. Failing to diagnose such conditions carefully;

c. Failing to employ appropriate treatments and procedures to correct
such conditions

d. Failing to carefully and thoroughly evaluate the effects of the
chosen treatments

e. Failing to adjust such chosen treatments in response to evaluation
of the effects of prior treatments

f. Failing to appropriately and adequately obtain an informed consent
from the Plaintiff Gladys Lampkins;

g. Failing to develop an adequate care plan for the management of
Plaintiff Lampkins’ pressure wounds;

h. Failing to change the care plan as the wounds progressed and
worsened;

i. Failing to ensure that Plaintiff Lampkins, who entered the
Defendants’ facility without pressure wounds did not develop pressure wounds as set

forth by OBRA regulation Quality of Care §483.25 (c) (1)',

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j. Failing to ensure that once Plaintiff Lampkins developed the
pressure wounds that she was provided with the necessary treatment and services to
promote healing and prevent infection of Plaintiff Lampl<ins wounds on her legs, feet,
and buttocks/sacrum as set forth by OBRA regulation Quality of Care §483.25 (c) (l)
and (2);

k. Failing to deliver to l\/ls. Lampl<ins the necessary treatment and
services to promote healing and prevent infection;

l. Failing to identify and provide early treatment to any wound areas
that displayed signs and symptoms of infection or deterioration;

rn. Failing to adequately treat infections that she did develop;

n. Failing to change the plan of care as Ms. Lampl<ins’ leg wounds
became infected and deteriorated;

o. Faiiing to refer Ms. Lampl<ins for expert consultation and care
before it was too late to save her legs;

p. Failing to change treatment plans when the treatment for pressure
relief was not working;

q. liailing to deliver the necessary care and services for l\/[s.
Lainpl<ins to attain and maintain the highest practicable physical, mental and
psychosocial well-being as set forth by OBRA regulation Quality of Care §483.23(a(l);

r. Failing to ensure that Ms. Lampl<ins’ abilities in activities of daily

living did not diminish, including failing to provide effective rehabilitation services for

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which Ms. Lampkins was admitted, as set forth in part by OBRA regulation Quality of
Care §483.25 (a); and
s. Defendants were otherwise negligent

45. The Plaintiff further avers that as a result of the negligent medical and
nursing care, treatment and management by the Defendants, individually and/or by and
through their real, apparent and/or ostensible agents, servants and/or employees,
responsible for the management of the care and treatment provided to Gladys Larnpkins
at l\/lanor Care of Silver Spring, Piaintiff Latnpl<ins developed numerous pressure wounds
and suffered bilateral above the knee amputations, which caused extreme conscious
physical pain and suffering, emotional distress and mental anguile physicai detormity,
the need for extensive medical and surgical treatment, the expense of that medicai
treatment, the need for future expensive medical treatment, and Plaintiff otherwise
suffered injury and damage, without any negligence on the part of the Plaintiff
contributing thereto.

46 The Plaintiff further avers that the injuries, damages and losses sustained
by her were due to the negligent and careless acts and omissions of the Defendants,
individually and/or through their agents, servants and/or employees, who breached their
aforementioned duties to the Plaintiff Gladys Lampl<ins.

47. As a direct and proximate result of the inadequate, inappropriate, and
substandard management of medical and nursing care by the Defendants, individually
and through their real, apparent and/or ostensible agents, servants and/or empioyees, the

Plaintiff, Gladys Lampkins was injured and damaged

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48. Plaintiff Lampi<ins further alleges that as a result of the negligent and
careless acts and omissions of the Defendants, individually and through their r'eal,
apparent and/or ostensible agents, servants and/or ernployees, the Plaintiff, Gladys
Larnpl<ins experienced a severe shock to her nerves and nervous systern, physical pain,
mental anguish, unnecessary procedures, unnecessary hospital and medical care and
expenses, permanent loss of both of her legs above the knee, permanent scarring and
disability, and was otherwise hurt7 injured and damaged

49. Plaintiff Lampkins further alleges that all of these injuries and damages
were caused by the negligent acts and omissions of the Defendants, individually and
through their real, apparent and/or ostensible agents, servants and/or ernployees, without
any negligence or Want ofdue care on the part of the Plaintil"f thereunto contributing

Wl-IEREFORE, this claim is brought by the Plaintiff Gladys Lampl<ins against the
Defendants, l\/lanor Care of Silver Spring MD, LLC, individually and d/b/a l\/lanorCare
l-lealth Services-Silver Spring, l\/lanor Care t-lealth Services, LLC, l~ICR ManorCare
l\/ledical Services of Florida, LLC, individually and d/b/a l~l.eartland Care Partners, l-ICR
l\/lanorCare Foundation, lnc., Manor Care Foundation, inc., l-leartland, lnc., HCR
l\/lanorCare Maryland Properties, LLC, HCR l\/lanorCare Properties, ll7 LLC, Linda M.
Allen-Hohnes, C.N.P., Raman Tuii, M.D, and Raman Tuii, l\/[D, PC., in an amount in
excess of the minimumjurisdiction of the United States District Court for the District of

l\/laryland.

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COUNT II
(Irrformed Consent - All Defendants)

The Plaintiff, Gladys Larnpl<ins, repeats, realleges, adopts and incorporates by
reference paragraphs l through 49 of this Cornplaint and Election for Jury 'i`rial as though
fully set forth herein.

50. The Defendants, i\/lanor Care of Silver Spring lle, LLC, individually and
d/l)/a l\/ianorCare liealth Services-Silver Spring, Manor Care l~lealth Services, LLC, HCR
l\/lanorCare Medical Services of Florida, LLC, individually and d/b/a l-leartland Care
Partners, I~lCR l\/lanorCare Foundation, Inc., l\/lanor Care Foundation, lnc., l~leartland,
lnc., HCR l\/lanorCare l\/laryland Properties, LLC, I-ICR ManorCare Properties, ll, LLC,
Linda M. Allen-Hoimes, C.N.P., Raman Tuii, M.D, and Raman 'l`uli, i\/lD, PC,
individually and/or through their real, apparent and/or ostensible agents, servants and/or
employees, owed to the Plaintiff the duty of appropriate notification of the various
treatment alternatives and risks involved in various modaiities of treatment

51. The Defendants, l\/[anor Care of Silver Spring l\/ID, LLC, individually and
d/b/a ManorCare I~Iealth Services-Silver Spring, l\/lanor Care lilealth Services, LLC, l~lCR
l\/IanorCar'e Medical Services of Florida, LLC, individually and d/b/a l-leartland Care
Partners, l-ICR l\/lanorCare Foundation, Inc., l\/tanor Care Foundation, lnc., l~leartland,
lnc., HCR l\/lanorCare Maryland Properties, LLC, l-ICR i\./ianorCare Properties, ll, LLC,
Linda l\/I. Allen-Holrnes, C.N.P., Raman 'i`uli, l\/l.D, and Raman Tuli, l\/ID, PC.,
individuain and/or through their real, apparent and/or ostensible agents, servants and/or

enrployees, were negligent in failing adequately and appropriately to obtain the informed

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consent from the Plaintiff, Gladys Lampl<ins, with regard to treatment decisions and
were otherwise negligent

52. As a direct and proximate result of the negligence of Defendants, Manor
Care of Silver Spring MD, LLC, individually and d/b/a l\/lanorCare l~lealth Services-
Silver Spring, l\/Ianor Care Health Services, LLC, HCR ManorCare Medical Services of
Florida, LLC, individually and d/b/a Heartland Care Partners, I-ICR l\/IanorCare
Foundation, lnc., Manor Care Foundation, lnc., l-leartland, lnc., HCR l\/lanorCare
l\/larylan.d Properties, LLC, HCR I\/lanorCare Properties, ll, LLC, Linda i\/I. Alien-
Holmes, C.N.P., Raman Tuli, M.D, and Rarnan 'l`uli, MD, PC., individually and/or
through their real, apparent and/or ostensible agents, servants and/or employees, in failing
to obtain the informed consent of Plaintiff, the Plaintiff, Gladys Lampl<irrs, experienced a
severe shock to her nerves and nervous system, pain, and mental anguish, underwent
surgery and unnecessary procedures, suffered the amputation above the knee of both legs,
has been and will continue to be obliged to receive hospital and medical care, was
prevented from engaging in his usual activities, duties and pursuits, incurred medical
expenses, and was otherwise injured and damaged

53. All of these injuries and damages were caused by the negligence of
Defendants l\/Ianor Care of Silver Spring l\/lD, LhC, individually and d/b/a l\/lanorCare
lrlealth Services-Silver SpringJ Manor Care I*Iealth Services, LLC, HCR ManorCare
l\/[edical Services of Florida, LLC, individually and d/b/a Heartland Care Partners, HCR
l\/lanorCare Foundation, inc., Manor Care Foundation, lnc., Hear'tland, lnc., HCR

l\/lanorCare l\/taryland Properties, LLC, HCR ManorCare Properties, ll, LLC, Linda l\/t.

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Allen- l-lolmes, C N P Rarnan Ttrli ,.M D and Ranian Tuli MD PC. without any
negligence on the part of the Plaintiff contributing thereto.

WHEREFORE, this claim is brought by the Piaintiff, Gladys Lampl<ins, against
Defendants lvlanor Care of Silver Spring i\/lD, LLC, individually and d/b/a ManorCare
Health Services-Silver Spring, l\/lanor Care Health Ser'vices, LLC, l“ICR ManorCare
Medical Services of Florida, LLC, individually and dib/a l-Ieartland Care Partners, HCR
l\/tanorCare Foundation, lnc., Manor Care Fotliidation, lnc., Heartland, lnc., HCR
ManorCare l\/laryland Properties, LLC, HCR ManorCare Properties, ll, LLC, Linda l\/l.
Allen-I-lolmes, C.N.P., Raman Tuli, M.D, and Raman Tuli, l\/ID, PC., in an amount in
excess of the minimum jurisdiction of the United States District Court for the District of

l\/laryland.

/Llet~/`

 

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Attorneys for Plaintiffs

ELECTION FOR JURY TRIAL

The Plaintiff, Gladys Lampkins, by and through her undersigned attorneys, elects

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to try this case before a jury.

 

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